Case 2:04-cV-02667-.]DB-tmp Document 53 Filed 05/11/05 Page 1 of 2 Page|D 64

 

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EDGAR MCDANlEL, \C;I;{" 1511j -.,;j_-F-ld;. Fnis'~.` 519
' f-tFHrs'
P]aintiff,
v. NO. 04-2667 BP

AMERICAN GENERAL FlNANClAL
SERVICES, INC., et al.,

Defendants.

 

ORDER DENYING AS MOOT DEFENDANT’S COMBlNED MOTION FOR CONTEMPT
AND MEMORANDUM OF FACTS AND LAW IN SUPPORT THEREOF

 

Defendant, American Gencral Financial Services, Inc., filed a combined motion for contempt
and memorandum of facts and law in support thereof on March 16, 2005, which was Set for a hearing
before Magistrate Judge Tu M. Pham on May 12, 2005. On May 6, 2005, Det`en.dant filed a notice
Withdrawing the motion. Accordingly, the Court DENIES the motion as moot.

n is So oRDERED this 10 day OfMay, 2005

odom

NIEL BREEN
UNDI ED STATES DISTRICT JUDGE

 

Thls document entered on the docket sheet' m compliance

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Notice of Distribution

This notice confirms a copy of the document docketed as number 53 in
case 2:04-CV-02667 Was distributed by faX, mail, or direct printing on
May 16, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

